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UNITED STATES DISTRICT COURT
DISTRICT OF ARIZONA

Brenda Whittaker, individually and on
behalf of all others similarly situated,
Case No.
Plaintiff,
CLASS ACTION COMPLAINT
Vv.
JURY TRIAL DEMANDED
Freeway Insurance Services America,
LLC, an Illinois limited liability company,

Defendant.

 

 

Plaintiff Brenda Whittaker (“Whittaker” or “Plaintiff’) brings this Class Action
Complaint (“Complaint”) against Defendant Freeway Insurance Services America, LLC
(“Freeway Insurance” of “Defendant’) to stop its practice of placing repeated, unsolicited
telemarketing calls to consumers whose telephone numbers are registered on the National
Do Not Call Registry and to obtain redress for all persons similarly injured by its
conduct. Plaintiff seeks an award of statutory damages to the members of the Class, plus
court costs and reasonable attorneys’ fees. Plaintiff, for her Complaint, alleges as follows
upon personal knowledge as to herself and her own acts and experiences, and, as to all
other matters, upon information and belief, including investigation conducted by her

attorneys.

 
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PARTIES
l. Plaintiff Whittaker is an individual who resides in Cottonwood, Yavapai
County, Arizona.
2. Defendant Freeway Insurance Services America, LLC is an Illinois limited

liability company whose principal place of business is located at 7711 Center Ave., Suite
200, Huntington Beach, California 92647.
JURISDICTION & VENUE

3. This Court has subject matter jurisdiction over this action pursuant to 28
U.S.C. § 1331, as the action arises under the Telephone Consumer Protection Act, 47
U.S.C. § 227, et seg. “TCPA” or the “Act”), a federal statute. This Court also has subject
matter jurisdiction under the Class Action Fairness Act, 28 U.S.C. § 1332 (*CAFA”),
because the alleged Class consists of over 100 persons, there is minimal diversity, and the
claims of the class members when aggregated together exceeds $5 million. Further, none
of the exceptions to CAFA applies.

4. The Court has personal jurisdiction over Defendant and venue is proper in
this District because it regularly conducts business in this District and a substantial part of
the events giving rise to the claims asserted here occurred in this District. |

COMMON ALLEGATIONS OF FACT

5. Defendant Freeway Insurance is an insurance agency that specializes in
providing non-standard auto insurance for new and high-risk drivers.

6. Unfortunately for consumers, Defendant casts its marketing net too wide.
That is, in an attempt to promote its business and to generate leads for its insurance
products and services, Defendant conducted (and continue to conduct) a wide scale
telemarketing campaign and repeatedly sends unsolicited telemarketing calls to telephone
numbers which appear on the national Do Not Call Registry.

7. Indeed, at no time did Defendant obtain prior express consent from Plaintiff
or the class members orally or in writing to place the calls at issue.

8. The TCPA was enacted to protect consumers from unauthorized

 
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telemarketing calls exactly like those alleged in this Complaint—calls placed without
prior express written consent to persons who listed their phone numbers on the Do Not
Call Registry. As such, Defendant not only invaded the personal privacy of Plaintiff and
members of the putative Class, it also intentionally and repeatedly violated the TCPA.

9. At all times material to this Complaint, Defendant was and is fully aware
that unsolicited telemarketing calls are being placed to consumers’ telephones through its
own efforts and that of its agents.

10. To the extent any third parties placed the calls, the third parties acted on
behalf of Defendant, for Defendant’s benefit, and with Defendant’s approval. Further,
Defendant ratified the conduct by accepting the benefits of the telemarketing campaign.

11. By placing the unsolicited calls at issue in this Complaint, Defendant
caused Plaintiff and the Class actual harm and cognizable legal injury. This includes the
ageravation and nuisance and invasions of privacy that result from the receipt of such
calls as well as a loss of value realized for any monies that consumers paid to their
carriers for the receipt of such calls. Furthermore, the calls interfered with and interrupted
Plaintiff's and the other class members’ use and enjoyment of their phones, including the
related data, software, and hardware components. Defendant also injured the Plaintiff and
class members by causing wear and tear on their phones.

12. On behalf of the Class, Plaintiff seeks an injunction requiring Defendant to
cease all unauthorized telemarketing calls to persons registered on the Do Not Call
Registry and an award of statutory damages to the class members, together with pre- and
post-judgment interest, costs, and reasonable attorneys’ fees.

FACTS SPECIFIC TO PLAINTIFF

13. Plaintiff Whittaker is the primary and customary user of the cellular
telephone number ending in 9679. Whittaker registered the telephone number ending in
9679 on the national Do Not Call Registry on December 19, 2017.

14, On January 5, 2022, Plaintiff received an unsolicited telemarketing call

from Freeway Insurance. The call was placed from the telephone number (928) 272-

 
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15. On January 7, 2022, Plaintiff received another unsolicited telemarketing
call from Freeway Insurance from the same telephone number.

16. Plaintiff received two additional unsolicited telemarketing calls from
Freeway Insurance on January 8, 2022, and January 9, 2022.

17. The purpose of the calls was to solicit Plaintiff to purchase Defendant’s
insurance related products and services.

18. On information and belief, Defendant has placed additional calls to
Plaintiff.

19.  Atno time did Whittaker ever consent to receive calls from Defendant.
Further, Whittaker has never expressed any interest in Defendant’s insurance products or
services.

20. Whittaker also has no prior relationship with Freeway Insurance.

21. Toredress these injuries, Whittaker, on behalf of herself and the Class of
similarly situated individuals, brings suit under the TCPA, which prohibits unsolicited
telemarketing calls to telephone numbers registered on the national Do Not Call Registry.
On behalf of the Class, Whittaker seeks an injunction requiring Defendant to cease all
unauthorized calling activities, and an award of statutory damages to the class members,
together with costs and reasonable attorneys’ fees.

CLASS ACTION ALLEGATIONS

22. Plaintiff brings this action pursuant to Federal Rule of Civil Procedure

23(b)(2) and Rule 23(b)(3) on behalf of herself and all others similarly situated and seeks

certification of the following Class:

DNC Registry Class: All persons in the United States who from four years
prior to the filing of the initial complaint in this action to the present: (1)
Defendant, or a third person acting on behalf of Defendant, called more than
one time on his/her telephone; (2) within any 12-month period; (3) where
the telephone number had been listed on the National Do Not Call Registry
for at least thirty days; (4) for the purpose of selling Defendant’s products
and services; and (5) for whom Defendant claims it obtained prior express

 

 
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consent in the same manner as Defendant claims it supposedly obtained
prior express consent to call Whittaker, or for whom it did not obtain prior
express written consent.

23. The following people are excluded from the Class: (1) any Judge or
Magistrate presiding over this action and members of their families; (2) Defendant,
Defendant’s subsidiaries, parents, successors, predecessors, and any entity in which the
Defendant or its parents have a controlling interest and its current or former employees,
officers and directors; (3) persons who properly execute and file a timely request for
exclusion from the Class; (4) persons whose claims in this matter have been finally
adjudicated on the merits or otherwise released; (5) Plaintiff's counsel and Defendant’s
counsel; and (6) the legal representatives, successors, and assignees of any such excluded
persons. Plaintiff anticipates the need to amend the class definition following appropriate
discovery.

24. Numerosity: The exact number of members within the Class is unknown
and not available to Plaintiff at this time, but it is clear that individual joinder is
impracticable. On information and belief, Defendant placed calls to thousands of
consumers who fall into the defined Class. Members of the Class can be identified
through reference to Defendant’s business records.

25.  Typicality: Plaintiffs claims are typical of the claims of other members of
the Class, in that Plaintiff and the members of the Class sustained damages arising out of
Defendant’s uniform wrongful conduct.

26. Adequate Representation: Plaintiff will fairly and adequately represent
and protect the interests of the Class, and has retained counsel competent and experienced
in complex class actions. Plaintiff has no interests antagonistic to those of the Class, and
Defendant has no defenses unique to Plaintiff.

27. Commonality and Predominance: There are many questions of law and
fact common to the claims of Plaintiff and the Class, and those questions predominate
over any questions that may affect individual members of the Class. Common questions

for the Class include, but are not necessarily limited to the following:

 

 
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(a) Whether Defendant’s conduct violated the TCPA;

(b) Whether Defendant systematically placed unsolicited telemarketing
calls to consumers whose telephone numbers were registered with
the National Do Not Call Registry;

(c) | Whether any third party made the calls and, if so, whether Defendant
is liable for such calls;

(d) Whether the Plaintiff and the other members of the Class are entitled
to statutory damages; and

(ec) Whether members of the Class are entitled to treble damages based
on the willfulness of Defendant’s conduct.

28. Superiority: This case is also appropriate for class certification because
class proceedings are superior to all other available methods for the fair and efficient
adjudication of this controversy. Joinder of all parties is impracticable, and the damages
suffered by the individual members of the Class will likely be relatively small, especially
given the burden and expense of individual prosecution of the complex litigation
necessitated by Defendant’s actions. Thus, it would be virtually impossible for the
individual members of the Class te obtain effective relief from Defendant’s misconduct.
Even if class members could sustain such individual litigation, it would still not be
preferable to a class action, because individual litigation would increase the delay and
expense to all parties due to the complex legal and factual controversies presented in this
Complaint. By contrast, a class action presents far fewer management difficulties and
provides the benefits of single adjudication, economy of scale, and comprehensive
supervision by a single court. Economies of time, effort and expense will be fostered and
uniformity of decisions ensured.

29. Conduct Similar Towards All Class Members: By committing the acts

‘set forth in this pleading, Defendant has acted or refused to act on grounds substantially

similar towards all members of the Class to render certification of the Class for final

injunctive relief and corresponding declaratory relief appropriate under Rule 23(b)(2).

 

 
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CAUSE OF ACTION
Violation of 47 U.S.C. § 227, et seq
(On Behalf of Plaintiff and the DNC Registry Class)

30. Plaintiff incorporates by reference the foregoing allegations as if fully set
forth herein.

31.  47U,S8.C. § 227(c)(5) provides that any “person who has received more
than one telephone call within any 12-month period by or on behalf of the same entity in
violation of the regulations prescribed under this subsection may” bring a private action

based on a violation of said regulations, which were promulgated to protect telephone

subscribers’ privacy rights to avoid receiving telephone solicitations to which they object.

32. The TCPA’s implementing regulation—47 C.F.R. § 64.1200(c)—provides
that “[n]Jo person or entity shall initiate any telephone solicitation” to “[a] residential
telephone subscriber who has registered his or her telephone number on the national do-
not-call registry of persons who do not wish to receive telephone solicitations that is
maintained by the Federal Government.” See 47 C.F.R. § 64.1200(c).

33. 47C.F.R. § 64.1200(e) provides that 47 C.F.R. §§ 64.1200(c) and (d) “are
applicable to any person or entity making telephone solicitations or telemarketing calls to
wireless telephone numbers to the extent described in the Commission’s Report and
Order, CG Docket No. 02-278, FCC 03-153, ‘Rules and Regulations Implementing the
Telephone Consumer Protection Act of 1991,’” and the Commission’s Report and Order,

in turn, provides as follows:

The Commission’s rules provide that companies making telephone
solicitations to residential telephone subscribers must comply with time of
day restrictions and must institute procedures for maintaining do-not-call
lists. For the reasons described above, we conclude that these rules apply to
calls made to wireless telephone numbers. We believe that wireless
subscribers should be afforded the same protections as wireline subscribers.

34. 47C.F.R. § 64.1200(d) further provides that “[n]o person or entity shall
initiate any call for telemarketing purposes to a residential telephone subscriber unless

such person or entity has instituted procedures for maintaining a list of persons who

 

 
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request not to receive telemarketing calls made by or on behalf of that person or entity.

The procedures instituted must meet the following minimum standards:

(1) Written policy. Persons or entities making calls for telemarketing
purposes must have a written policy, available upon demand, for
maintaining a do-not-call list.

(2) Training of personnel engaged in telemarketing. Personnel engaged in
any aspect of telemarketing must be informed and trained in the existence
and use of the do-not-call list.

(3) Recording, disclosure of do-not-call requests. If a person or entity
making a call for telemarketing purposes (or on whose behalf such a call is
made) receives a request from a residential telephone subscriber not to
receive calls from that person or entity, the person or entity must record the
request and place the subscriber’s name, if provided, and telephone number
on the do-not-call list at the time the request is made. Persons or entities
making calls for telemarketing purposes (or on whose behalf such calls are
made) must honor a residential subscriber’s do-not-call request within a
reasonable time from the date such request is made. This period may not
exceed thirty days from the date of such request... .

(4) Identification of sellers and telemarketers. A person or entity making a
call for telemarketing purposes must provide the called party with the name
of the individual caller, the name of the person or entity on whose behalf the
call is being made, and a telephone number or address at which the person
or entity may be contacted. The telephone number provided may not be a
900 number or any other number for which charges exceed local or long-
distance transmission charges.

(5) Affiliated persons or entities. In the absence of a specific request by the
subscriber to the contrary, a residential subscriber’s do-not-call request shall
apply to the particular business entity making the call (or on whose behaif a
call is made), and will not apply to affiliated entities unless the consumer
reasonably would expect them to be included given the identification of the
caller and the product being advertised.

(6) Maintenance of do-not-call lists. A person or entity making calls for
telemarketing purposes must maintain a record of a consumer’s request not
to receive further telemarketing calls. A do-not-call request must be honored
for 5 years from the time the request is made.”

35. Defendant and/or its agent(s) violated 47 C.F.R. § 64.1200(c) by initiating,

or causing to be initiated, multiple telephone solicitations to telephone subscribers like

 

 
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Plaintiff and the DNC Registry Class members who registered their respective cell phone
numbers on the National DNC Registry, a listing of persons who do not wish to receive
telephone solicitations that is maintained by the federal government.

36. Here, Defendant and/or its agent(s) placed more than one unsolicited
telemarketing call to Whittaker and the other members of the DNC Registry Class within
a 12-month period without having prior written express consent to send such calls.

37. Each such call was directed to a telephone number that had been registered
with the National Do Not Call Registry for at least 30 days.

38. Whittaker and the other members of the DNC Registry Class did not
provide consent to receive such telemarketing calls from Defendant or its agents.

39. Neither Defendant nor its agents have any record of consent to place such
telemarketing calls to Plaintiff or the other members of the DNC Registry Class.

40. Defendant violated 47 C.F.R. §§ 64.1200(d) and (e) by causing calls to be
placed for telemarketing purposes to wireless telephone subscribers, such as Plaintiff and
the members of the DNC Registry Class, without instituting procedures that comply with
the regulatory minimum standards for maintaining a do not call policy and a list of
persons who request not to receive telemarketing calls.

41. Additionally, on information and belief, Defendant fails to maintain a
written do not call policy that is available on request. On further information and belief,
Defendant fails to train its employees and personnel involved in telemarketing in the
existence and use of its do not call policy or do not call list.

42. As aresult of Defendant’s conduct as alleged herein, Whittaker and the
members of the DNC Registry Class suffered actual damages and, under section 47
U.S.C. § 227(c), are each entitled to, inter alia, receive at least $500 in damages for each
such violation of 47 C.F.R. § 64.1200.

43. To the extent Defendant’s misconduct is determined to have been willful
and knowing, the Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the amount of
statutory damages recoverable by Whittaker and the members of the DNC Registry Class.

 
 

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PRAYER FOR RELIEF

WHEREFORE, Plaintiff, on behalf of herself and the Class, prays for the

following relief:

A.

An order certifying this case as a class action on behalf of the Class as
defined above; appointing Plaintiff as the representative of the Class and
appointing her attorneys as Class Counsel;

An award of actual monetary loss from such violations or the sum of five
hundred dollars ($500.00) for each violation, whichever is greater all to be
paid into a common fund for the benefit of the Plaintiff and the Class
Members;

An award of trebled damages if willfulness is shown;

An order declaring Defendant’s calls, as set out above, violate the TCPA;
An injunction requiring Defendant to stop placing calls to consumers
registered on the National Do Not Call Registry absent prior express
consent;

An award of pre-judgment interest;

An award of reasonable attorneys’ fees and costs to be paid out of the
common fund prayed for above; and

Such further and other relief the Court deems reasonable and just.

JURY DEMAND

Plaintiff requests a trial by jury of all claims that can be so tried.

Dated: March 15, 2022 BRENDA WHITTAKER, individually and on

behalf of all others similarly situated,

By: /s/Penny L. Koepke
One of Plaintiff Attorneys

 

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